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  1   Shannon Liss-Riordan (SBN 310719)
         sliss@llrlaw.com
  2   LICHTEN & LISS-RIORDAN, P.C.
      729 Boylston Street, Suite 2000
  3   Boston, MA 02116
      Telephone: (617) 994-5800
  4   Facsimile: (617) 994-5801
  5   Attorney for Plaintiff ADRIANA ORTEGA,
      on behalf of herself and all others similarly situated
  6
      Peter E. Garrell, Esq. (SBN 155177)
  7      pgarrell@fortislaw.com
      John M. Kennedy, Esq. (SBN 156009)
  8      jkennedy@fortislaw.com
      FORTIS LLP
  9   650 Town Center Drive, Suite 1530
      Costa Mesa, CA 92626
 10   Tel: (714) 839-3800
      Fax: (714) 795-2995
 11
      Attorneys for Defendants
 12   THE SPEARMINT RHINO COMPANIES
      WORLDWIDE, INC., SPEARMINT RHINO
 13   CONSULTING WORLDWIDE, INC., and
      MIDNIGHT SUN ENTERPRISES, LLC
 14
                           UNITED STATES DISTRICT COURT
 15
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 16
                                     EASTERN DIVISION
 17
      ADRIANA ORTEGA, individually and on ) Case No. 5:17-cv-00206 JGB (KKx)
 18 behalf of all others similarly situated,         )
                                                     )   [Assigned for All Purposes to
 19                             Plaintiff,           )   The Honorable Jesus G. Bernal]
                                                     )
 20        vs.                                       )   JOINT NOTICE OF PROPOSED
                                                     )   CLASS ACTION SETTLEMENT
 21 SPEARMINT RHINO COMPANIES                        )
      WORLDWIDE, INC., SPEARMINT                     )   Date Action Filed: February 3, 2017
 22 RHINO CONSULTING WORLDWIDE,                      )   Trial Date: NONE
      INC., and MIDNIGHT SUN                         )
 23 ENTERPRISES, LLC,                                )
                                                     )
 24                             Defendants.          )
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                         JOINT NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
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  1        Plaintiff Adriana Ortega and Opt-In Plaintiffs Roberta Friedman, Adriana
  2 Avelar and Sheyenne McCrea (“Plaintiffs”), and Defendants Spearmint Rhino

  3 Companies Worldwide, Inc., Spearmint Rhino Consulting Worldwide, Inc., and

  4 Midnight Sun Enterprises, LLC, (“Defendants”) (Plaintiff and Defendants

  5 collectively referred to as “the Parties”) attended a non-binding mediation in Boston,

  6 Massachusetts on May 22, 2019 with experienced mediator D. Charles Stohler.

  7        The Parties are pleased to report that as a result of this mediation, they
  8 executed a term sheet and have reached a class action settlement agreement in

  9 principle that would fully resolve this matter. The Parties are in the process of
 10 drafting final settlement documents and preparing approval papers to submit to the

 11 Court. The Parties will endeavor to submit preliminary approval documents on or

 12 before June 24, 2019.

 13        Though the Court had previously ordered that the Parties submit a proposed
 14 protective order related to dissemination of FLSA notice, they request that this

 15 deadline be stayed pending the settlement approval process.

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                        JOINT NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
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  2 Dated: May 23, 2019                   LICHTEN & LISS-RIORDAN, P.C.

  3

  4                                       By:    /s/ Shannon Liss-Riordan
                                                Shannon Liss-Riordan
  5                                             Attorneys for Plaintiff
                                                ADRIANA ORTEGA
  6

  7                                       I attest that all other signatories listed, on
                                          whose behalf the filing is submitted,
  8                                       concur in the filing's content and have
                                          authorized the filing.
  9

 10
      Dated: May 23, 2019                 FORTIS LLP
 11

 12
                                          By: /s/ Peter E. Garrell
 13                                       Peter E. Garrell
 14                                       Attorneys for Defendants The Spearmint
 15
                                          Rhino Companies Worldwide, Inc.,
                                          Spearmint Rhino Consulting Worldwide, Inc.
 16
                                          and Midnight Sun Enterprises, LLC

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                       JOINT NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
